         Case 1:20-cv-03010-APM Document 339 Filed 04/13/22 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

United States of America, eta!.,                   Case No. 1:20-cv-03010-APM

                    Plaintiffs,

        V.


Google LLC,                                        Judge:      HON. AMIT P. MEHTA

                    Defendant.


State of Colorado, et al.,                         Case No. 1 :20-cv-037 1 5-APM

                    Plaintiffs,

        V.


Google LLC.                                        Judge:      HON. AMIT P. MEHTA

                    Defend ant.


                         NOTICE OF WITHDRAWAL OF COUNSEL

        Pursuant to Local Rule 83.6(b), Haley P. Tynes gives notice of her withdrawal as counsel

of record for non-party petitioner Microsoft Corporation (“Microsoft”) in the above-captioned

matters. Microsoft will continue to be represented by Orrick, Herrington & Sutcliffe LLP and

Dechert, LLP.
        Case 1:20-cv-03010-APM Document 339 Filed 04/13/22 Page 2 of 2




Dated: April 13, 2022                 By: /s/ Ha k’v P. Tjnes

                                            Haley P. Tynes
                                            ORRICK, HERRINCTON & SUTCUFFE LLP
                                            Columbia Center
                                            1152 15th Street, N.W.
                                            Washington, D.C. 20005-1706
                                            Telephone: +1 202-339-8400
                                            Facsimile: +1 202-339-8500
                                            htynesorrick.com


                                            A ttorneis/br


                                      By:

                                            David Howard
                                            VP Strategic Advisor
                                            MICROSOFT CORPORATION
                                            I Microsoft Way
                                            Redmond, WA 98052
                                            Telephone: +1 425-704-8685
                                            dhowarcl@rnicrosoft.corn


                                            Nonparti   ‘vlici’osofl Coipoi’ation
